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            Case 2:16-cv-00127-MRH Document 34 Filed 12/07/16 Page 1 of 1




                            UNITED ST ATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF PENNSYLVANIA

      AMY BUMBARGER,
                                                           CASE NO. 2:16-cv-00127
                                    Plaintiff,
                                                           Hon. Mark R. Hornak
                     vs.

      CAP ITAL ONE BANK, N .A.,

                                    Defendant



                                     STIPULATION OF DISMISSAL

             Pursuant to Fed. R. Civ. P. 41(a)(l)(A)(ii), Plaintiff Amy Bumbarger ("Plaintiff") and

      Defendant Capital One Bank (USA), N.A. (incorrectly captioned as Capital One Bank, N.A.),

      ("Defendant"), hereby stipulate to the dismissal of all claims asserted in the above-captioned

      action with prejudice. Each party shall bear its own costs, attorney's fees and expenses.



      Respectfully submitted,

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                                                                UNITED STATES DISTRICT JUDGE
